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                                            #:3543
                                                               August 17, 2021

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 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11 ESTATE OF DANIEL HERNANDEZ, by                  Case No. 20-cv-04477-SB (KSx)
12 and through successors in interest, Manuel
     Hernandez, Maria Hernandez and M.L.H.;        JUDGMENT
13 MANUEL HERNANDEZ, individually;

14 MARIA HERNANDEZ, individually;
     M.L.H., a minor, by and through her
15 guardian ad litem CLAUDIA SUGEY

16 CHAVEZ,

17                     Plaintiffs,
18
     v.
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20 CITY OF LOS ANGELES; LOS
     ANGELES POLICE DEPARTMENT;
21 TONI MCBRIDE; and DOES 1 to 10,

22
                       Defendants.
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 1        WHEREAS, Defendants TONI McBRIDE, CITY OF LOS ANGELES and LOS
 2 ANGELES POLICE DEPARTMENT’s (“Defendants”) Motion for Summary Judgment

 3 having been granted by the Court on August 10, 2021 (Order, Dkt. 111), against Plaintiffs

 4 ESTATE OF DANIEL HERNANDEZ, MANUEL HERNANDEZ, MARIA

 5 HERNANDEZ and M.L.H., a minor, by and through her guardian ad litem CLAUDIA

 6 SUGEY CHAVEZ (“Plaintiffs”), Judgment is hereby entered in favor of Defendants.

 7        NOW THEREFORE, IT IS HEREBY ORDERED THAT:
 8        1.    Judgment is entered forthwith in favor of Defendants TONI
 9              McBRIDE, CITY OF LOS ANGELES and LOS ANGELES POLICE
10              DEPARTMENT, as against Plaintiffs ESTATE OF DANIEL
11              HERNANDEZ, MANUEL HERNANDEZ, MARIA HERNANDEZ
12              and M.L.H., a minor, by and through her guardian ad litem
13              CLAUDIA SUGEY CHAVEZ;
14        2.    Plaintiffs shall take nothing by way of their consolidated Complaint
15              (Dkt. 26) as against Defendants; and
16        3.    Defendants shall recover their costs in accordance with Local Rule 54.
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18 IT IS SO ORDERED.

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20 Dated: August 17, 2021

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                                                        Stanley Blumenfeld, Jr.
23                                                     United States District Judge
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